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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

Kieran Ravi Bhattacharya

Plaintiff
Vv.
James B. Murray, Jr., et al.

 

Civil Action No. 3:19-cv-54

 

Nem Nee “eee “eee “eee eee”

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Custodian of Records, Metropolitan Psychiatric Services, P.C., 411 8th St NE, Charlottesville, VA 23902

 

(Name of person to whom this subpoena is directed)

“4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
See Attachment A

 

Place: Virginia Office of the Attorney General Date and Time:

202 N. 9th Street
Richmond, VA 23219 08/04/2021 5:00 pm

 

 

 

 

1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 07/13/2021

CLERK OF COURT
OR
/s/ Brittany A. McGill

 

 

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) _James B. Murray,
Jr., Whittington W. Clement, Robert M. Blue, etc. (All Defendants) , who issues or requests this subpoena, are:

Brittany A. McGill, 202 N. 9th Street, Richmond, VA 23219, BMcGill@oag.state.va.us, (804) 786-0082

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 3:19-cv-54

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

1 I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ; or

 

1 I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

 

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc.:
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Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(ec) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
tequesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
tesolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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ATTACHMENT A
INSTRUCTIONS

1. Please furnish all responsive documents in your possession, custody, or control or in the
possession, custody or control of your employees, representatives, or agents. Without limitation of
the term "control," a Document is deemed to be in your control if you have the right to secure the
Document or a copy thereof from another person or public or private entity having actual
possession thereof, or if you have the practical ability to obtain the Document from a third-party,
irrespective of any legal entitlement to the Document. If any original Document requested is not
in your possession, custody, or control, then you are required to produce the best available copy,
and to state, to the best of your knowledge, the name and address of the person in possession and/or
control of the original. The fact that a Document is in possession of another person or entity does
not relieve you of the obligation to produce your copy of the Document, even if the two Documents
are identical. In addition, any copy of a Document shall be produced if it differs in any respect
from the original (e.g., by reason of handwritten notes or comments having been added to copy
which do not appear on the original or otherwise).

2. If at any time you had possession, custody, or control of a document responsive to these
requests and if such document, or portion of such document, has been lost, destroyed, purged or
otherwise is not presently in your possession, custody, or control, then: (a) identify the document;
(b) state the date of its loss, destruction, purge or separation from your possession or control; (c)
State the circumstances surrounding its loss, destruction, purge or separation from your possession
or control; and ( d) state its present or last known location, including the name, address and
telephone number of each person believed to have possession of such document.

3. If, in responding to this Subpoena, you encounter any ambiguities when construing a
request or definition, the response shall set forth the matter deemed ambiguous and the
construction used in responding.

4. Whenever in this Subpoena you are asked to identify or produce a document which is
deemed by you to be properly withheld from production for inspection or copying:

(a) if you are withholding the document under claim of privilege (including, but not
limited to, the work product doctrine), please provide the information set forth in Fed. R.
Civ. P. 26(b)(5), including the type of document, the general subject matter of the
document, the date of the document, and such other information as is sufficient to identify
the document, including, where appropriate, the author, addressee, custodian, and any other
recipient of the document, and where not apparent, the relationship of the author, addressee,
custodian, and any other recipient to each other, in a manner that, without revealing the
information claimed to be protected, will enable this party to assess the applicability of the
privilege or protection claimed by you;

(b) if you are withholding the document on the ground that production is unduly
burdensome, describe the burden or expense of the proposed discovery.
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(c) if you are withholding the document for any reason other than an objection that it
is beyond the scope of discovery or that a request is unduly burdensome, identify as to each
document and, in addition to the information requested in {| 4(a) and {| 4(b), please state the
reason for withholding the document.

5. When a document contains both privileged and non-privileged material, the nonprivileged
material must be disclosed to the fullest extent possible without thereby disclosing the privileged
material. If a privilege is asserted with regard to part of the material contained in a document, the
party claiming the privilege must clearly indicate the portions as to which the privilege is claimed.
When a document has been redacted or altered in any fashion, identify as to each document the
reason for the redaction or alteration, the date of the redaction or alteration, and the person
performing the redaction or alteration. Any redaction notation must be clearly visible on the
redacted document.

6. The present tense includes the past and future tenses. The singular includes the plural,
and the plural includes the singular. Words in the masculine, feminine or neuter form
shall include each of the other genders.

7. If the requested documents are maintained in a file, the file folder label is included in the
request for production of those documents. If maintained in electronic format, the file name, folder
and any other path names or categorizing information is included in the request for production of
those documents.

8. All documents that are required to be produced in response to this Subpoena shall be
produced in the following manner:

(a) All documents maintained by you in an electronic format should be produced in
an electronic format; and if such documents are maintained by you in a searchable
electronic format, they should be produced in a searchable electronic format. If producing
any document in an electronic form creates an undue burden for you, you are to contact
defendants’ counsel to discuss that burden before the production date indicated on the
subpoena with enough time to ensure that you can meet that production date.

(b) | JPG files and photographs shall be produced in JPG format.
(c) Parent-child relationships (association between an attachment and its parent
document) shall be preserved. The attachment(s) shall be produced immediately after the

parent document.

(d) — All electronically stored information shall be produced with all metadata associated
with the original document intact.

()) Spreadsheets and data shall be produced in native format, preferably Excel with
column headers.

(f) Counsel is available to meet and confer as to the production format.
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DEFINITIONS

1. The terms “you” or “your” refer to the Metropolitan Psychiatric Services, PC. and any
officer, employee, agent, representative, or other individual or entity, acting on behalf of or at the
direction of the Metropolitan Psychiatric Services, PC.

2. “Relate to” or “relating to” shall mean consisting of, referring to, describing, discussing,
constituting, evidencing, containing, reflecting, mentioning, concerning, pertaining to, citing,
summarizing, analyzing, or bearing any logical or factual matter with the matter discussed.

3. “Document” and “documents” includes all writings of any kind, including typed,
handwritten, or other, and all forms, drawings, graphs, charts, photographs, sound recordings,
images, and other data or data compilations, stored in any medium from which information can be
obtained either directly or, if necessary, after translation by the responding party into a reasonably
usable form. The terms “document” and “documents” specifically include electronic documents
and data.

4, All undefined terms shall be interpreted according to their plain and commonsense
meaning.
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REQUESTED DOCUMENTS, ELECTRONICALLY
STORED INFORMATION AND THINGS

All documentation in your care, custody or control including, but not limited to, all medical
records, narrative reports, doctor's notes, therapists’ notes, nurses’ notes, chronological records of
visits, histories, test results, x-ray reports, medications, patient registration and/or information
forms, bills and charges for services, insurance forms and all other documents, including any
documents sent to or received from any attorney or any other doctor, hospital or other healthcare
provider pertaining or relating to examination of or care or treatment rendered to Kieran Ravi
Bhattacharya, DOB: 06/20/1996, at any time in the past.

NOTICE TO HEALTH CARE ENTITIES

A COPY OF THIS SUBPOENA DUCES TECUM HAS BEEN PROVIDED TO THE INDIVIDUAL WHOSE
HEALTH RECORDS ARE BEING REQUESTED OR HIS COUNSEL. YOU OR THAT INDIVIDUAL HAS
THE RIGHT TO FILE A MOTION TO QUASH (OBJECT TO) THE ATTACHED SUBPOENA. IF YOU
ELECT TO FILE A MOTION TO QUASH, YOU MUST FILE THE MOTION WITHIN 15 DAYS OF THE
DATE OF THIS SUBPOENA.

YOU MUST NOT RESPOND TO THIS SUBPOENA UNTIL YOU HAVE RECEIVED WRITTEN
CERTIFICATION FROM THE PARTY ON WHOSE BEHALF THE SUBPOENA WAS ISSUED THAT THE
TIME FOR FILING A MOTION TO QUASH HAS ELAPSED AND THAT:

NO MOTION TO QUASH WAS FILED; OR

ANY MOTION TO QUASH HAS BEEN RESOLVED BY THE COURT OR THE ADMINISTRATIVE
AGENCY AND THE DISCLOSURES SOUGHT ARE CONSISTENT WITH SUCH RESOLUTION.

IF YOU RECEIVE NOTICE THAT THE INDIVIDUAL WHOSE HEALTH RECORDS ARE BEING
REQUESTED HAS FILED A MOTION TO QUASH THIS SUBPOENA, OR IF YOU FILE A MOTION TO
QUASH THIS SUBPOENA, YOU MUST SEND THE HEALTH RECORDS ONLY TO THE CLERK OF
THE COURT OR ADMINISTRATIVE AGENCY THAT ISSUED THE SUBPOENA OR IN WHICH THE
ACTION IS PENDING AS SHOWN ON THE SUBPOENA USING THE FOLLOWING PROCEDURE:

PLACE THE HEALTH RECORDS IN A SEALED ENVELOPE AND ATTACH TO THE SEALED
ENVELOPE A COVER LETTER TO THE CLERK OF COURT OR ADMINISTRATIVE AGENCY WHICH
STATES THAT CONFIDENTIAL HEALTH RECORDS ARE ENCLOSED AND ARE TO BE HELD
UNDER SEAL PENDING A RULING ON THE MOTION TO QUASH THE SUBPOENA. THE SEALED
ENVELOPE AND THE COVER LETTER SHALL BE PLACED IN AN OUTER ENVELOPE OR PACKAGE
FOR TRANSMITTAL TO THE COURT OR ADMINISTRATIVE AGENCY.
